  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 1 Date1Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 102
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 2 Date2Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 103
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 3 Date3Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 104
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 4 Date4Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 105
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 5 Date5Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 106
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 6 Date6Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 107
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 7 Date7Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 108
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 8 Date8Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 109
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 9 Date9Filed:
                                                  of 63 04/29/2024
                                                         PageID #: 110
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 10 Date10Filed:
                                                     of 63 04/29/2024
                                                           PageID #: 111
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 11 Date11Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 112
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 12 Date12Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 113
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 13 Date13Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 114
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 14 Date14Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 115
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 15 Date15Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 116
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 16 Date16Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 117
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 17 Date17Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 118
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 18 Date18Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 119
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 19 Date19Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 120
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 20 Date20Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 121
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 21 Date21Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 122
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 22 Date22Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 123
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 23 Date23Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 124
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 24 Date24Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 125
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 25 Date25Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 126
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 26 Date26Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 127
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 27 Date27Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 128
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 28 Date28Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 129
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 29 Date29Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 130
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 30 Date30Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 131
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 31 Date31Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 132
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 32 Date32Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 133
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 33 Date33Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 134
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 34 Date34Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 135
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 35 Date35Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 136
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 36 Date36Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 137
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 37 Date37Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 138
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 38 Date38Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 139
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 39 Date39Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 140
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 40 Date40Filed:
                                                     of 63 04/29/2024
                                                           PageID #: 141
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 41 Date41Filed:
                                                     of 63 04/29/2024
                                                           PageID #: 142
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 42 Date42Filed:
                                                     of 63 04/29/2024
                                                           PageID #: 143
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 43 Date43Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 144
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 44 Date44Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 145
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 45 Date45Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 146
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 46 Date46Filed:
                                                     of 63 04/29/2024
                                                           PageID #: 147
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 47 Date47Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 148
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 48 Date48Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 149
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 49 Date49Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 150
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 50 Date50Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 151
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 51 Date51Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 152
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 52 Date52Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 153
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 53 Date53Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 154
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 54 Date54Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 155
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 55 Date55Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 156
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 56 Date56Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 157
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 57 Date57Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 158
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 58 Date58Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 159
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 59 Date59Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 160
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 60 Date60Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 161
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 61 Date61Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 162
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 62 Date62Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 163
  Case:
Case:    24-60212    Document:
      3:23-cv-00385-MPM-RP Doc2-1   Page:04/29/24
                               #: 7 Filed: 63 Date63Filed:
                                                    of 63 04/29/2024
                                                           PageID #: 164
